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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 20-cv-21108-UU

 MARTA REYES, et al.,

        Plaintiffs,

 v.

 PEOPLE’S REPUBLIC OF CHINA, et al.,

       Defendants.
 __________________________________________/

                                              ORDER

        THIS CAUSE comes before the Court upon Plaintiffs’ Renewed Motion for Extension of

 Time to Comply With Order Requiring Filing of Joint Planning and Scheduling Report (the

 “Motion”). D.E. 89. The Court having considered the Motion and the pertinent portions of the

 record and being otherwise fully advised on the premises, it is hereby

        ORDERED AND ADJUDGED that the Motion (D.E. 89) is GRANTED IN PART.

 Plaintiffs SHALL file a Joint Planning and Scheduling Report no later than Friday, October 2,

 2020. It is further

        ORDERED AND ADJUDGED that the Initial Planning and Scheduling Conference is

 hereby reset to Friday, October 16, 2020. It is further

        ORDERED AND ADJUDGED that Plaintiffs SHALL continue to file a status report with

 the Court every fifteen (15) days to keep the Court informed of its service efforts.

        DONE AND ORDERED in Chambers, Miami, Florida, this 18th__ day of August, 2020.



                                               __________________________________
                                               URSULA UNGARO
                                               UNITED STATES DISTRICT JUDGE
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 Copies furnished:
 All counsel of record
